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                                         U.S. Department of Justice
[Type text]
                                                        United States Attorney
w                                                       Southern District of New York
                                                        The Silvio J. Mollo Building
                                                        One Saint Andrew’s Plaza
                                                        New York, New York 10007


                                                        May 14, 2021


BY EMAIL

The Honorable J. Paul Oetken
United States District Judge
Southern District of New York
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, New York 10007

        Re:     In re Search Warrants dated April 21, 2021, and April 28, 2021, 21-MC-425(JPO)

Dear Judge Oetken:

        The Government writes with respect to the sealing and partial redaction of the letter briefs
filed by counsel for Ms. Toensing and Mr. Giuliani on May 12, 2021, as well as the Government’s
April 29, 2021 letter. The Government has conferred with counsel for Ms. Toensing and Mr.
Giuliani, and the parties have agreed upon the redactions enclosed in the attached documents. The
redactions are narrowly tailored to protect the Government’s ongoing grand jury investigation and
third party privacy interests by redacting specific information related to the applicable warrants,
while permitting very general information about the warrants to be unredacted. Accordingly, the
parties respectfully request that the attached partially redacted letter briefs be filed with the Court’s
approval.

                                                        Respectfully submitted,

                                                        AUDREY STRAUSS
                                                        United States Attorney for the
                                                        Southern District of New York

                                                    By: _____/s/_______________________
                                                        Rebekah Donaleski
                                                        Nicolas Roos
                                                        Aline R. Flodr
                                                        Assistant United States Attorneys
                                                        (212) 637-2423/ 2421/ 1110

Cc: Robert Costello, Esq. (counsel for Rudolph Giuliani)
   Michael Bowe, Esq./ E. Patrick Gilman, Esq. (counsel for Victoria Toensing)
